        Case 4:20-cv-01253-CLM Document 1 Filed 08/25/20 Page 1 of 5                      FILED
                                                                                 2020 Aug-25 PM 04:30
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                                MIDDLE DIVISION


Akiba Canady,                                Case No.:

                Plaintiff,

      vs.                                    COMPLAINT

K A P S & CO (USA) LLC d/b/a Kaps &
Co, a foreign limited liability company,     JURY TRIAL DEMAND

                Defendant.




      NOW COMES THE PLAINTIFF, AKIBA CANADY, BY AND

THROUGH COUNSEL, Matthew Landreau, and for her Complaint against the

Defendant, pleads as follows:

                                JURISDICTION

   1. This court has jurisdiction under the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. §1692k(d) and 28 U.S.C. §§1331,1337.


                                     VENUE

   2. The transactions and occurrences which give rise to this action occurred in

      the City of Gadsden, Etowah County, Alabama.

   3. Venue is proper in the Northern District of Alabama, Middle Division.
     Case 4:20-cv-01253-CLM Document 1 Filed 08/25/20 Page 2 of 5




                                  PARTIES

4. Plaintiff is a natural person residing in City of Gadsden, Etowah County,

   Alabama.

5. The Defendant to this lawsuit is K A P S & CO (USA) LLC d/b/a Kaps &

   Co, is a foreign limited liability company that conducts business in the State

   of Alabama.

                       GENERAL ALLEGATIONS

6. Defendant is attempting to collect a consumer type debt allegedly owed by

   Plaintiff to Mid America Bank & Trust in the amount of $401.00 (“the

   alleged Debt”).

7. Plaintiff disputes the alleged Debt.

8. On April 23, 2020, Plaintiff obtained her Trans Union credit disclosure and

   noticed Defendant reporting the alleged Debt.

9. On or about May 12, 2020, Plaintiff sent Defendant a letter disputing the

   alleged Debt.

10.On July 16, 2020, Plaintiff obtained her Trans Union credit disclosure,

   which showed that Defendant last reported the tradeline reflected by the

   alleged Debt to June 23, 2020 and failed or refused to flag the account

   reflected by the alleged Debt as disputed, in violation of the FDCPA.
     Case 4:20-cv-01253-CLM Document 1 Filed 08/25/20 Page 3 of 5




11.In the credit reporting industry, data furnishers, such as the Defendant,

   communicate electronically with the credit bureaus.

12.Defendant had more than ample time to instruct Experian, Equifax, and

   Trans Union to flag its trade line as Disputed.

13.Defendant’s inaction to have its trade line on Plaintiff’s credit report flagged

   as disputed was either negligent or willful.

14.Plaintiff suffered pecuniary and emotional damages as a result of

   Defendant’s actions. Her credit report continues to be damaged due to the

   Defendant’s failure to properly report the associated trade line.



VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT

15.Plaintiff reincorporates the preceding allegations by reference.

16.At all relevant times, Defendant, in the ordinary course of its business,

   regularly engaged in the practice of collecting debts on behalf of other

   individuals or entities.

17.Plaintiff is a "consumer" for purposes of the FDCPA, and the account at

   issue in this case is a consumer debt.

18.Defendant is a "debt collector" under the Fair Debt Collection Practices Act

   ("FDCPA"), 15 U.S.C. §1692a(6).
         Case 4:20-cv-01253-CLM Document 1 Filed 08/25/20 Page 4 of 5




   19.Defendant's foregoing acts in attempting to collect these alleged debt

      violated 15 U.S.C. §1692e(8) by communicating to any person credit

      information, which is known to be false or should be known to be false,

      including failure to report a disputed debt as disputed.

   20.To date, and a direct and proximate cause of the Defendant’s failure to honor

      its statutory obligations under the FDCPA, the Plaintiff has continued to

      suffer from a degraded credit report and credit score.

   21.Plaintiff has suffered economic, emotional, general, and statutory damages

      as a result of these violations of the FDCPA.

      WHEREFORE, PLAINTIFF PRAYS that this court grant her a judgment

against Defendant for actual damages, costs, interest, and attorneys’ fees.

                     DEMAND FOR JUDGMENT RELIEF

   Accordingly, Plaintiff requests that the Court grant her the following relief

against the Defendant:

   a. Actual damages;

   b. Statutory damages;

   c. Statutory costs and attorneys’ fees.

                                 JURY DEMAND

      Plaintiff hereby demands a trial by Jury.

DATED: August 25, 2020
Case 4:20-cv-01253-CLM Document 1 Filed 08/25/20 Page 5 of 5




                                By: /s/ Matthew Landreau
                                Matthew Landreau
                                Bar Number 4710-A22L
                                22142 West Nine Mile Road
                                Southfield, MI 48033
                                Telephone: (248) 353-2882
                                Facsimile: (248) 353-4840
                                E-Mail: matt@crlam.com
                                Attorneys for Plaintiff,
                                Akiba Canady
